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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,
                                                                    Case No. 05-CR-80955
v.
                                                             HONORABLE AVERN COHN
D-8 BRIAN RONNEL GARRETT, and
D-25 KIM VERNELL WILLIAMS,

     Defendants.
_______________________/

  MEMORANDUM AND ORDER DENYING DEFENDANTS’ MOTION TO SUPPRESS

                                      I. Introduction

       This is a criminal case. Defendants Brian Ronnel Garrett (Garrett) and Kim

Vernell Williams (Williams) are charged with (1) conspiracy to distribute five kilograms

or more of cocaine in violation of 21 U.S.C. § 846 and 21 U.S.C. § 841(b); (2) money

laundering in violation of 18 U.S.C. § 1956; and (3) conspiracy to launder money

instruments in violation of 18 U.S.C. § 1956(h).

       Before the Court are Defendants’ motions to suppress evidence obtained during

a traffic stop and subsequent search of their vehicle. Defendants contend that (1) there

was no probable cause to make the initial traffic stop, (2) Defendants were detained

without reasonable suspicion during the traffic stop, (3) the initial search of the vehicle

was made without probable cause, and (4) law enforcement authorities lacked probable

cause to perform subsequent searches of the vehicle and/or exceeded the scope of

Defendants’ consent to search. A hearing on the motion was held on October 3, 2007
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at which the Court heard testimony and reviewed documentary evidence. For the

reasons that follow, Defendants’ motions will be denied.

                                 II. Factual Background

                                   A. The Traffic Stop1

       On February 26, 2003, Texas State Trooper Jason Henderson (Henderson) was

on patrol on I-40 in Gray County, Texas. At about 11:28 a.m., he observed a black two-

door Lincoln Mark VIII (the Lincoln) that appeared to be traveling over the speed limit.

Moving radar confirmed that the Lincoln was traveling at a rate 74 miles per hour in a 70

miles per hour zone. Henderson also “paced” the Lincoln by driving behind it to ensure

the accuracy of his radar. He then signaled for the driver of the Lincoln, Williams, to pull

over; she complied.

       Henderson approached the Lincoln and informed Williams that she had

exceeded the speed limit. He assured her, however, that he planned to issue only a

written warning, not a citation. Henderson then asked for and obtained identification

from both Williams and Garrett, the latter of whom was sitting in the front passenger

seat. Williams gave Henderson her driver’s license; Garrett furnished a personal

identification card issued by the Michigan Secretary of State. Williams also informed

Henderson that the Lincoln belonged to a third party.

       Henderson testified that he customarily asks drivers to step out of their cars and

sit in the front seat of his cruiser during traffic stops. He made this request of Williams


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         The traffic stop and subsequent events that occurred along the highway were
captured by a video camera mounted on the police cruiser. The video recording also
includes audio captured by two microphones: one in the interior of the police cruiser and
one affixed to the officer’s belt.

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after receiving the Defendants’ identification, and she complied. Henderson then read

Williams’s information over the radio to a dispatcher for the purpose of running a routine

license check through the Texas Department of Public Safety computer system.

      While Henderson waited for the results of the license check, he asked Williams

numerous questions about where she was going. Henderson testified that he

customarily asks these sort of questions during traffic stops. Williams told Henderson

that she was going to Amarillo to visit a friend, Marie Brown. Williams said that she was

not sure where Marie Brown lived despite having visited her in Amarillo the previous

year and was therefore meeting her at a local mall. Williams said that Brown had

“recently” moved to Amarillo, arguably contradicting her earlier statement that she had

visited Brown in Amarillo the previous year. Williams also told Henderson that she and

Garrett had known each other for about three years and that they were merely friends,

not involved romantically. After a few minutes of conversation, Henderson received a

radio message informing him that the license check of Williams had come back clean.

He then read Garrett’s information to the dispatcher.

      Henderson then exited the cruiser while Williams remained in the front seat.

Henderson approached the passenger side of the Lincoln and proceeded to ask Garrett

a series of questions similar to the ones he asked Williams. The in-car microphone

recorded Williams saying “please say Amarillo, please” to herself as Henderson

approached the Lincoln. Garrett’s answers contradicted Williams’s. Specifically,

Garrett told Henderson that he and Garrett were going to visit family members in

California, including a man named Sherman Oates, and that Williams was his girlfriend.

During the conversation, Henderson told Garrett that his eyes looked strange and that

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he wondered whether Garrett had taken “uppers” or caffeine pills or had previously

suffered a head injury. Garrett explained that he had astigmatism.

      After his conversation with Garrett, Henderson returned to his cruiser and a few

moments later received a radio message indicating that the number on Garrett’s

personal identification was invalid. The dispatcher stated that Garrett was associated

with another identification number. Henderson then issued the written warning to

Williams, and she signed a form acknowledging receipt. Henderson asked Williams if

there was any contraband or large sums of currency in the vehicle. Williams responded

in the negative. Henderson asked permission to search the vehicle, and Williams twice

responded “sure”.

                                       B. The Search

      Henderson approached the passenger side of the Lincoln and told Garrett that

Williams had given him permission to search the vehicle. He asked Garrett to step out

of the vehicle and conducted a pat down search. Henderson then searched the vehicle

and discovered a false compartment in the passenger-side rear seat area. In his report,

Henderson stated that “it was obvious that a false compartment had been constructed

and could be seen by removing a small speaker cover that was covered by a black

fabric and had been glued down.”

      Henderson advised the Defendants of what he found in the Lincoln and

instructed them to drive the vehicle to Richardson’s Texaco station in McLean, Texas,

while he followed in the police cruiser. In McLean, Henderson gained access to the

false compartment he had identified and discovered that it contained $220,000 in U.S.

currency. Henderson then requested that a K-9 unit be sent to the scene. A drug

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sniffing dog was brought in and conducted an open air sniff on the exterior of the

vehicle, responding with several alerts indicating the presence of narcotics in the

vehicle. Henderson locked the Lincoln and maintained possession of the keys. A

subsequent search of the Lincoln on March 1, 2003 revealed another compartment,

located between the rear seat and the trunk, containing an additional $503,000 is U.S.

currency.

                                       III. Analysis2

                                     A. Illegal Stop

       Defendants first dispute that Henderson had the requisite probable cause to

make the initial traffic stop. A police officer who has probable cause to believe a civil

traffic violation has occurred may stop an automobile regardless of his or her subjective

motivation for doing so. Whren v. U.S., 517 U.S. 806, 813 (1996); U.S. v. Ferguson, 8

F.3d 385, 391-92 (6th Cir. 1993) (en banc), cert. denied, 513 U.S. 828 (1994). In

Whren, the Supreme Court stated that a line of prior cases

       foreclose any argument that the constitutional reasonableness of traffic
       stops depends on the actual motivations of the individual officers involved.
       We of course agree with petitioners that the Constitution prohibits
       selective enforcement of the law based on considerations such as race.
       But the constitutional basis for objecting to intentionally discriminatory
       application of laws is the Equal Protection Clause, not the Fourth
       Amendment. Subjective intentions play no role in ordinary, probable-
       cause Fourth Amendment analysis.




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          Although the events in question took place in Texas, the parties agree that Sixth
Circuit law applies. In any case, the law of the Fifth Circuit is not substantially different
from the law cited herein.

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517 U.S. at 813. Because the police in Whren had probable cause to believe that

petitioners had committed a traffic offense, the Supreme Court held that the stop was

legal regardless of the officer’s subjective motivations for making the stop.

         Here, Henderson had probable cause to stop the Lincoln for a speeding violation.

The accuracy of Henderson’s moving radar and of his “pacing” of the Lincoln are not in

serious dispute. Any suggestion that Henderson had ulterior motives in making the stop

is irrelevant under Whren. The traffic stop was therefore legal.

           B. Reasonable Suspicion to Conduct an Investigatory Detention

         The Defendants next claim that even if there was probable cause to stop the

Lincoln initially, Henderson unreasonably detained the Defendants in the course of the

stop. An officer “must conduct the [traffic] stop with the least intrusive means

reasonably available and not detain the individual longer than necessary to effectuate

the purpose of the stop, unless the officer has an articulable reasonable suspicion that

the individual is engaged in criminal activity.” U.S. v. Hill, 195 F.3d 258, 267 (6th Cir.

1999).

         The Sixth Circuit employs a “totality of the circumstances” analysis when

determining whether or not an officer formed the requisite reasonable, articulable

suspicion to detain a suspect for investigative purposes during a traffic stop. See U.S.

v. Erwin, 155 F.3d 818, 822 (6th Cir. 1998). That is, the court “must determine whether

the individual factors, taken as a whole, give rise to reasonable suspicion, even if each

individual factor is entirely consistent with innocent behavior when examined

separately.” U.S. v. Smith, 263 F.3d 571, 588 (6th Cir. 2001) (citing U.S. v. Sokolow,

490 U.S. 1, 9 (1989)).

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       Defendants rely on U.S. v. Avery, 137 F.3d 343, 350 (6th Cir. 1997) for the

proposition that lying to the police about the origin or purpose of a trip does not by itself

give rise to reasonable suspicion to detain a suspect for investigative purposes.

However, the Avery court applied the “totality of the circumstances test” and concluded

that the facts known to the officers at the time of the investigative detention, including

but not limited to the defendant’s contradictory statements concerning the details of his

trip, gave rise to the requisite reasonable suspicion. Id.

       Here, Henderson had reasonable suspicion to detain Defendants for

investigatory purposes because (1) the Lincoln was registered to a third party; (2)

Williams appeared to contradict herself in response to Henderson’s questions, stating

that she had visited her friend Marie Brown last year but also that Marie Brown had

moved to Amarillo only recently; (3) Williams seemed unsure of precisely where she

was going in Amarillo and said that she intended to meet her friend at a mall, despite

having visited her friend’s home the previous year; (4) Garrett flatly contradicted

Williams’s story in numerous ways, including his statements that the Defendants were

headed to California rather than Amarillo and that the Defendants were involved

romantically rather than merely friends; and (5) Henderson thought that Garrett’s eyes

looked strange and believed that he may have taken “uppers.”

       Defendants’ argument that lying to the police about the origins or purposes of a

trip is not by itself sufficient to create reasonable suspicion ignores the “totality of the

circumstances” test applicable in cases of investigatory detention. While any individual

fact listed above may not be enough to create reasonable suspicion, the totality of the




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circumstances includes indicia of potential criminal activity sufficient to support

Henderson’s actions.

                       C. Probable Cause To Search the Vehicle

       Defendants also contend that Henderson lacked probable cause to search the

Lincoln. However, law enforcement officers need not have probable cause when a

suspect consents to a search. Schneckloth v. Bustamonte, 412 U.S. 218, 219 (1973).

In this case, Williams freely consented to the search of the Lincoln; the video and audio

recordings of the stop show that Williams was not subject to any duress or coercion.

When Henderson asked permission to search the Lincoln, Williams twice responded

“sure”. Henderson was therefore free to search the Lincoln.

                                  D. Scope of Consent

       Finally, Defendants argue that Henderson unreasonably exceeded the scope of

Williams’s consent during his search of the Lincoln. Additionally, Defendants argue that

Henderson had no right to transport the Lincoln to Richardson’s Texaco station in

McLean in order to gain access to the secret compartments. “The standard for

measuring the scope of a suspect's consent under the Fourth Amendment is that of

objective reasonableness.” Fla. v. Jimeno, 500 U.S. 248, 251 (1991). The proper

question is "what would the typical reasonable person have understood by the

exchange between the officer and the suspect." Id. When a law enforcement officer

asks a suspect whether he posseses any illegal contraband, the officer has implicitly

informed the defendant that those items are the object of any search. U.S. v.

Garrido-Santana, 360 F.3d 565, 576 (6th Cir. 2004).




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       Here, before Henderson obtained Williams’s consent to search the Lincoln, he

asked her whether there were any illegal items inside the car. Henderson also

specifically asked if there were any large sums of currency in the vehicle. In so asking,

Henderson informed Williams that these items would be the object of his search.

Williams consented to the search of her vehicle and did not impose any restrictions on

the search. Thus the scope of Williams’s consent would include any portions of the

vehicle where large sums of money or other contraband could be hidden, including

secret compartments.

       After Henderson discovered the false compartment in the Lincoln, he had

probable cause to search inside the compartment. U.S. v, Kincaide, 145 F.3d 771, 779

(6th Cir. 1998) (holding that a police officer had sufficient probable cause to conduct a

search where the officer “recognized a secret compartment in the undercarriage” of

defendant’s vehicle “and knew from experience that such compartments were used to

transport drugs and money”); see also U.S. v. Ledesma, 447 F.3d 1307, 1317 (10th Cir.

2006) (holding that “visual evidence of a hidden compartment, without more, may

provide probable cause to conduct or expand a search”); U.S. v. Price, 869 F.2d 801,

804 (5th Cir. 1989) (holding that “[o]nce the agents had discovered the secret

compartment they had probable cause to search the compartment itself”). Defendants’

objections to this expansion of the search are therefore unavailing.




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                                     IV. Conclusion

       For the reasons stated above, Defendants’ motions to suppress are DENIED.

       SO ORDERED.



                                           s/Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE


 Dated: October 25, 2007


 I hereby certify that a copy of the foregoing document was mailed to the attorneys of
 record on this date, October 25, 2007, by electronic and/or ordinary mail.


                                           s/Julie Owens
                                          Case Manager, (313) 234-5160




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